

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. WR-69,107-03






EX PARTE DAVE LAMON ADAMS, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO. 1039218-B IN THE 177TH JUDICIAL DISTRICT COURT


FROM HARRIS COUNTY





	Per curiam.

		

O R D E R



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of aggravated
robbery and sentenced to thirty years' imprisonment.  The First Court of Appeals affirmed his
conviction.  Adams v. State, No. 01-05-01017-CR (Tex. App. - Houston [1st Dist.] November 30,
2006, pet ref'd).

	Applicant contends, inter alia, that his trial counsel rendered ineffective assistance because
counsel failed to interview or subpoena two witnesses, failed to conduct an independent
investigation, failed to introduce a 9-1-1 tape, failed to advise Applicant that the original indictment
in this case had been dismissed and a new indictment returned, and failed to file a motion to quash
the indictment. 

	The trial court entered an order designating issues on September 4, 2008, ordering
Applicant's trial counsel to provide an affidavit responding to Applicant's claims.  However,
apparently because more than six months passed without a response from counsel, the writ was
forwarded to this Court without an affidavit from counsel, and without findings of fact and
conclusions of law from the trial court.  

	Applicant has alleged facts that, if true, might entitle him to relief.  Strickland v. Washington,
466 U.S. 608 (1984); Ex parte Lemke, 13 S.W.3d 791,795-96 (Tex. Crim. App. 2000).  In these
circumstances, additional facts are needed.  As we held in Ex parte Rodriguez, 334 S.W.2d 294, 294
(Tex. Crim. App. 1960), the trial court is the appropriate forum for findings of fact.  The trial court
shall provide Applicant's trial counsel with the opportunity to respond to Applicant's claim of
ineffective assistance of counsel.  The trial court may use any means set out in Tex. Code Crim.
Proc. art. 11.07, § 3(d).  In the appropriate case, the trial court may rely on its personal recollection. 
Id.

	If the trial court elects to hold a hearing, it shall determine whether Applicant is indigent. If
Applicant is indigent and wishes to be represented by counsel, the trial court shall appoint an
attorney to represent Applicant at the hearing.  Tex. Code Crim. Proc. art. 26.04. 

	The trial court shall make findings of fact as to whether the performance of Applicant's trial
attorney was deficient and, if so, whether counsel's deficient performance prejudiced Applicant.  The
trial court shall also make any other findings of fact and conclusions of law that it deems relevant
and appropriate to the disposition of Applicant's claim for habeas corpus relief.

	This application will be held in abeyance until the trial court has resolved the fact issues.  The
issues shall be resolved within 90 days of this order.  If any continuances are granted, a copy of the
order granting the continuance shall be sent to this Court. A supplemental transcript containing all
affidavits and interrogatories or the transcription of the court reporter's notes from any hearing or
deposition, along with the trial court's supplemental findings of fact and conclusions of law, shall
be returned to this Court within 120 days of the date of this order.  Any extensions of time shall be
obtained from this Court. 




Filed: July 1, 2009

Do not publish


